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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA

                                       Criminal Minutes

Date: April 30, 2020                                Judge: Honorable Charles R. Breyer

Court Reporter: Debra Pas
Time: 15 Minutes
Case No.: CR19-0381-5 CRB
Case Name: USA v. Brayan Martinez (Telephonic Appearance) (Custody)

Attorney(s) for Government: Sailaja Padipaty
Attorney(s) for Defendant(s): Richard Tamor
Interpreter: Spanish – Melinda Basker
Probation Officer: Catheryn Grier

Deputy Clerk: Lashanda Scott


                                        PROCEEDINGS

Telephonic Sentencing hearing held. Counsel and parties waived the presentence report. The
Court sentenced the defendant to the Bureau of Prisons to a term of time served. Defendant
placed on supervised release for a term of 3 years under the usual terms and conditions and the
special conditions. The defendant does not have the ability to pay a fine and the Court orders it
waived. The defendant shall pay a special assessment of $100. The defendant is currently in the
Santa Rita County Jail. Refer to the Judgment for additional information. Government’s Motion
to Dismiss Count 1 of the Indictment – Motion Granted.
